        Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 1 of 12




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )          No.    21-cr-581 (TFH)
JACOB KYLE WIEDRICH                       )
                                          )
            Defendant.                    )
__________________________________________)

         DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

      Jacob Wiedrich, by his attorney, Maria N. Jacob, hereby submits the

following memorandum in aid of sentencing in this matter.

      Mr. Wiedrich is a young twenty-four year old young man with no adult

criminal history. Less than a month after being charged in the instant matter, he

accepted responsibility and has been nothing but cooperative ever since. He even

wrote a letter to the Capitol Police apologizing for his participation on January 6,

2021. See Exhibit 1, Apology Letter. Mr. Wiedrich did not engage in any violence,

destruction of property, and left the Capitol building about 20 minutes after he

entered. Based on all of the factors discussed below, Mr. Wiedrich respectfully

requests that the Court impose a sentence of twenty-four months’ probation with

the conditions that he serve the first two months on home detention and complete

100 hours of community service.

                                  BACKGROUND

      On October 14, 2021, Mr. Wiedrich entered a guilty plea to one count of

Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40 USC


                                           1
          Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 2 of 12




§5104(e)(2)(G), for his participation in the events on January 6, 2021. On that day,

he attended the “Save America” rally where he listened to several speeches

encouraging the crowd to march to the Capitol to “stand up for this country and

stand up for what is right. 1” After the rally, Mr. Wiedrich, along with thousands of

other individuals attending the rally, walked over to the Capitol building and

entered inside. While inside, Mr. Wiedrich was not violent, did not destroy

property, and did not enter any sensitive areas.

                                         ARGUMENT
    I.      Legal Standard

         The Court is well aware that the Supreme Court’s opinions in Kimbrough v.

United States, 552 U.S. 84 (2007), and Gall v. United States, 552 U.S. 38 (2007),

have dramatically altered the law of federal sentencing. Congress has required

federal courts to impose the least amount of imprisonment necessary to accomplish

the purposes of sentencing as set forth in 18 U.S.C. §3553(a). Those factors include

(a) the nature and circumstances of the offense and history and characteristics of

the defendant; (b) the kinds of sentences available; (c) the advisory guideline range;

(d) the need to avoid unwanted sentencing disparities; (e) the need for restitution;

and (f) the need for the sentence to reflect the following: the seriousness of the

offense, promotion of respect for the law and just punishment for the offense,

provision of adequate deterrence, protection of the public from future crimes and



1
 See Matthew Choi, Trump is on trial for inciting an insurrection. What about the 12 people who
spoke before him?, Politico (Feb. 10, 2021), available at
https://www.politico.com/news/2021/02/10/trump-impeachement-stop-the-steal-speakers-467554.


                                                 2
          Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 3 of 12




providing the defendant with needed educational and vocational training, medical

care, or other correctional treatment. See 18 U.S.C. §3553(a).

   II.      Imposing a Sentence of 24 Months’ Probation With Two Months’
            Home Detention is Sufficient, But Not Greater Than Necessary, to
            Comply with 18.U.S.C. §3553(a).

            a. Mr. Wiedrich’s Personal History and Characteristics

         Jacob was born and raised in Utah, where he still currently resides. He lived

mostly with his mother growing up as his parents divorced when he was five years

old. After his father moved out of the house, they did not have a close relationship

during his childhood and adolescence. It was not until recently that they rekindled

their relationship and are now close. Jacob is one of among many siblings and grew

up in large family. In high school, Jacob excelled in athletics, especially in football.

He struggled with his academics, however after entering an Individualized

Education Plan, he overcame his learning issues and earned his high school

diploma in 2016.

         Jacob had sporadic jobs after high school until he found work in Roofing and

Construction in 2020. After working for his father’s company for a few months,

Jacob found steady employment with Sunus Alpenglow Solar and Electric, where he

currently works full-time. Jacob wishes to attend trade school to become an

electrician. Based on his ability to maintain steady employment, he recently

obtained an apartment of his own where he lives with his girlfriend. Jacob has been

focused on his personal growth, especially after sincerely regretting his actions on

January 6, 2021. In her letter to the Court, his mother describes her son as


                                            3
        Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 4 of 12




determined, generous, and big-hearted. See Exhibit 2, Letter from Emily Wiedrich.

She has faith in her son’s future and explains:

      He is extremely bright and has a lot of potentials to do great things for
      his community and future if given the opportunity. Please, try to look
      past this instant when he was caught in the moment. He isn’t a bad
      person, he has made many mistakes, but does try very hard to learn
      and grow from them.

      Id. Jacob traveled to Washington, D.C. and participated in the rally on

January 6, 2021 because he was a Trump supporter who sincerely believed in what

his former President told him.

         b. Nature and Circumstances of the Offense

      At the time, Jacob believed he was part of something important by

participating in the rally on January 6, 2021. When Republican leader after leader,

including the former President, encouraged the crowd to go down to the Capitol

building, Jacob did what the rest of the crowd (mostly men and women older than

him) did, and marched to the Capitol building. When he arrived, he observed the

crowd that was already ahead of him and had already stormed the Capitol building.

This gave him continued confidence that he was not alone in following what he

believed the President had encouraged them to do. Jacob was a young man

observing thousands of older individuals storm the Capitol building and those

individuals had an unfortunate influence on him. He regrets all of his actions and

words that day and the days following. After Jacob reflected on that day, he made a

decision to focus on his personal growth and not on politics. He obtained steady

employment, his own apartment, and is now gearing up to attend trade school.


                                          4
         Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 5 of 12




       Despite the government’s allegation that Mr. Wiedrich was not completely

truthful to law enforcement during an unrecorded voluntarily interview just a

couple weeks after January 6, 2021, his family views him as an honest individual

who recognizes when he has made a mistake. See Exhibit 3, Letter from Chance

Wiedrich. Jacob’s older brother explains to the Court that:

       In more recent years I have seen him take yet another step in the right
       direction toward becoming the best version of himself as possible.
       Having humility in his actions and realizing when he has done wrong.

       Id. Jacob did not hesitate to accept responsibility in this case and did so

within one month of being charged. He is aware of his actions and ever since he

accepted responsibility, he has not tried to excuse his actions. To the contrary, he

wrote a thoughtful apology letter to the Capitol police, where he stated:

       I wanted to take full responsibility of all my actions and not shy away
       from the damage that was done to this country on that day. From
       physical damage to the amount of mental strain it had on people and
       more importantly our police officers and to have my name attached to
       such an event is disappointing…..To all the police officers working on
       January 6th and their families I apologize for being a part of a terrible
       day it was for them.

       See Exhibit 1, Apology Letter. 2




2 The government, in its sentencing memorandum, inaccurately asserts that Mr. Wiedrich
has revealed a lack of remorse. See Gov’t Sent. Memo at 16-17. Their assertion is based on
comments Mr. Wiedrich made shortly after January 6, 2021, but completely fails to
acknowledge the fact that (1) he ceased posting comments in the last year, (2) he literally
entered a guilty plea – acknowledging guilt in writing and before the Court, (3) and has
since written a sincere apology letter to the Capitol police for his actions. The fact that Mr.
Wiedrich made statements on social media shortly after January 6, 2021, does not mean
that that it is not possible for remorse to be shown at a later time, especially after
considering the amount of social media influence there was from his peers in the days
following January 6, 2021 and his young immature age.
                                               5
        Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 6 of 12




      Unfortunately, Jacob’s young age made him more susceptible to believing the

words of so many older individuals who were confident that they needed to

collectively take a “stand” that day. His actions, however, were not pre-calculated,

and it is clear he was following the crowd and became too passionate towards this

unfortunate cause. Jacob did not assault anyone, did not destroy any property, and

did not enter into any sensitive areas in the Capitol building.

          c. The Need to Promote Respect for the Law, Provide Just
             Punishment, Protect the Community and Provide Adequate
             Deterrence, and the Need to Avoid Unwanted Sentencing
             Disparities

      Based on Jacob’s personal history and characteristics, it is clear that his

conduct on January 6, 2021, was an isolated event that was completely out his

character. It is also extremely unlikely that he will recidivate given his lack of

criminal history and his perfect record on pre-trial supervision for the past several

months. Any potential for recidivism can be addressed by imposing 100 hours of

community service, a more effective method of deterrence than a period of

incarceration, especially for a young man such as Mr. Wiedrich.

      United States Probation has recommended a sentence of 30 days of

incarceration. The government recommends a severe sentence of 3 months’

incarceration followed by a period of probation. However, sentences in the 30-45

day range have only been imposed in other capitol misdemeanor cases with far more

aggravating conduct. 3 Furthermore, the government’s recommendation has no



3
 United States Probation bases its recommendation in part on their belief that Mr.
Wiedrich himself pushed through a police barricade into the building. See ECF No. 27.
                                            6
        Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 7 of 12




support when analyzing past sentences and its imposition would result in a drastic

disparity in sentencing.

       For example, in United States v. Jancart, 21-CR-148 (JEB), the court imposed

a 45 day sentence of incarceration after the defendant pled guilty to Disorderly

Conduct because the defendant, who was an Air Force Veteran, (1) brought a

gasmask and two-way radios, (2) laughed and cheered when rioters broke through a

police line, (3) entered the Speaker’s conference room, (4) and posted statements

after January 6 discussing a potential revolution coming. The government also

believed that Jancart deleted videos and messages on his phone after January 6,

2021. Unlike Jancart, Jacob did not enter sensitive areas of the Capitol building.

Although he did make some post January 6 statements on social media, those

statements did not discuss a potential revolution and he stopped posting such

statements very shortly after January 6, 2021. Lastly, Jacob did not delete

anything off his phone and cooperated with law enforcement.

       Similarly, in United States v. Bradley Rukstales, 1:21-CR-041 (CJN), the

court imposed 30 days of incarceration after the government alleged he threw a

chair in the direction of police officers who had been forced to retreat and was

ultimately brought to the floor by an officer having to be dragged out of the Capitol

building after resisting their efforts. Jacob is not proud of how he acted on January

6, 2021, however he did not act violently towards officers and he left the building



However, the video evidence does not support this. While Mr. Wiedrich is close behind a
group that does push past the police barricade, he did not himself assault an officer and
walked in the building after the group in front of him breached the barricade.
                                             7
        Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 8 of 12




voluntarily. Mr. Rukstales was also an older man who had more life experience.

Jacob’s actions were immature and he has since learned from his mistakes and

made positive changes in the last year. 4

       Although there is no case identical to Jacob’s case, United States v. Jessica

Bustle, 1-21-CR-238 (TFH), is more akin to the instant offense where the Court

imposed 24 months’ probation with 2 months’ home detention. The defendant in

that case was extremely vocal on social media about being proud of her

participation on January 6, 2021. She also observed broken windows, individuals

being tear gassed, and later wrote on social media that a revolution was needed.

Like Jacob, she also accepted responsibility early. Unlike Ms. Bustle, Jacob was not

as vocal on social media but did say some things that he now regrets. After the

court balanced the 3553(a) factors in Ms. Bustle’s case, it ultimately decided that a

term of incarceration would not be productive. See Dkt No. 41, Transcript of

proceedings. Similarly, here, a sentence of incarceration would be

counterproductive as Jacob has finally made real steps to maintain independence by




4
 Jacob’s case can also easily be distinguished from other defendants who received periods of
incarceration. See U.S. v. Matthew Mazzocco, 21-CR-054 (TSC) (sentenced to 45 days
incarceration – government believed he made entered the Spouse’s lounge of the Capitol
building, commented on Facebook afterwards that he concurred with the disruption of the
vote, and sent text messages to family and friends showing lack of remorse for his actions
and that Antifa was to blame); U.S. v. Dana Winn, 21-CR-139 (TNM) (entered guilty plea to
§1752 sentenced to 10 days incarceration to be served on the weekends after messages
found expressing intent to stop the vote on January 6, 2021); United States v. John Lolos,
21-CR-243 (APM) (sentenced to 14 days’ incarceration – defendant had history of violence
and celebrated that he participated in delaying the vote on January 6, 2021 and was
removed from an airplane after the riot due to unruly conduct).
                                             8
        Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 9 of 12




obtaining employment and an apartment of his own. If he is forced to serve jail

time, all of those accomplishments will be compromised.

      The instant matter is also similar to United States v. Jordan Stotts, 21-CR-

272 (TJK), where the court sentenced the defendant to 24 months’ probation with 2

months’ home detention. Although Stotts shouted at police, scaled the wall to gain

access to the Capitol, and made a few post January 6, 2021 statements on social

media, he also accepted responsibility early and cooperated with law enforcement.

Similar to Stotts, Jacob accepted responsibility very early in his case, cooperated

with law enforcement, and after reflection of his actions ceased his posts on social

media and rather focused on his personal growth.

      The government, in its sentencing memorandum, asserts that their proposed

sentence is justified because of United States v. Reeder, 1:21-CR-166 (TFH), a case

where the Court imposed a sentence of 3 months’ incarceration. See Gov’t Sent.

Memo at 22. However, that case is a great example of why the government’s

recommendation would create a sentencing disparity if imposed in this matter. In

Reeder, the defendant entered a guilty plea to 40 U.S.C. §5104(e)(2)(G) and shortly

before sentencing, the government discovered new evidence that Reeder assaulted

an officer. See Reeder, ECF Nos. 33, 35. The newly discovered evidence was a video

capturing him place his hands on an officer and engage in a scuffle with him. Id. at

35. Not only was there newly discovered evidence that potentially could have

supported the filing of more severe charge, the defendant in Reeder trespassed in

the Capitol building twice, was 55 years old, and filmed another officer being



                                          9
          Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 10 of 12




assaulted rather than trying to help him. So, this case is not comparable to the

instant offense because Mr. Wiedrich did not engage in violence, did not film an

officer being assaulted, and was in the Capitol building for approximately 20

minutes.

      Lastly, the government points to a case where the court imposed 30 days’

incarceration, which shows that it is not being consistent with its reasoning for

requesting such a severe sentence in this case. See Gov’t Sent. Memo at 22 (citing

Gracyn Courtright, 1-21-CR-072 (CRC)). In that case, the defendant actually

entered the Senate floor and entered a guilty plea to 18 U.S.C. §1752(a)(1), which is

an important distinction because that charge is not a petty offense and carries a

higher statutory maximum.

   III.     The Government Is Incorrect that 40 U.S.C. §5104(e)(2)(G) May
            Include Both Incarceration and Probation

      In its sentencing memorandum submitted to the court, without any prior

notice to the defendant in his plea agreement, the government now claims that Mr.

Wiedrich can be sentenced to a period of incarceration followed by a period of

probation. See Gov’t Sent. Memo at 1-2. Contrary to the government’s assertion,

the court is not authorized to impose both a sentence of incarceration and a

sentence of probation in this case, and doing so would raise significant

constitutional concerns. 18 U.S.C. § 3551; see United States v. Torrens, No. 21-cr-

204 (BAH), ECF No. 110 & 125 (Chief Judge Howell chose to not impose such a




                                          10
        Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 11 of 12




sentence after briefing provided to the Court). 5 The plea agreement nowhere

indicates or notifies Mr. Wiedrich that he may be subject to both 6 months of

incarceration and 5 years of probation. A correct reading of the relevant statutes

and the legislative history, as discussed in the defense pleadings in Torrens, make it

clear that a district court has a dichotomous choice: it can either sentence the

defendant to imprisonment up to six months, or it can sentence the defendant to

probation for up to five years. Where, as here, there is solely one single petty

offense, the statute precludes a combined probationary and a sentence of

incarceration.


       The case the government cites, United States v. Posley, 351 F. App’x 801, 809

(4th Cir. 2009) (unpublished), misreads 18 U.S.C. § 3563(a)(3) and ignores 18 U.S.C.

§ 3551(b). 6 The sole court in this district to impose both incarceration and

supervision for a petty misdemeanor, in United States v. Virginia Spencer, No. 21-

cr-00147-2 (CKK), has not yet entered the written judgment and ordered

supplemental briefing on the issue (see Min. Order 01/11/2022).




5
  If the Court is considering such a sentence, defense counsel would like the opportunity to
further brief this matter.
6
  It appears that the decision has not been cited by any court, according to a Lexis citing
history search. Its analysis, issued on the papers without the benefit of oral argument, id.
at 809, is inaccurate and not remotely persuasive for the reasons set forth in the pleadings
in Torrens.


                                             11
       Case 1:21-cr-00581-TFH Document 29 Filed 01/13/22 Page 12 of 12




                                      CONCLUSION


      For the reasons stated above, Mr. Wiedrich respectfully requests that the

Court impose 24 months’ probation with the condition that he serve the first two

months on home detention and complete 100 hours of community service. Mr.

Wiedrich also requests that a fine not be imposed in light of his obligation to pay

$500 restitution.




                                        Respectfully submitted,

                                        A.J. KRAMER
                                        FEDERAL PUBLIC DEFENDER

                                        ____________/s/______________
                                        Maria N. Jacob
                                        Assistant Federal Public Defender
                                        625 Indiana Ave. NW, Ste. 550
                                        Washington, D.C. 20004
                                        (202) 208-7500
                                        Maria_jacob@fd.org




                                          12
